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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

                                                           2:20-cr-101-FtM-38NPM
v.                                               CASE NO.: 2:19-cr-166-FtM-38NPM

ANDERSON PAUL


                                        ORDER1

       This matter comes before the Court following the Zoom video status

conference held January 11, 2021, at which hearing both parties were present,

including the Defendant, Anderson Paul. The hearing was set to discuss

Defendant Ander Paul’s Unopposed Motion to Continue Sentencing filed

January 8, 2021 (Doc. 128) which requested the Court continue the Sentencing

hearing for ninety-days.        The Court granted (in-part) the continuance via

endorsed order on January 8, 2021 (Docket Entry 129) but set the status

conference to address a new sentencing date with the parties.

       For the reasons stated on the record and because the relief is unopposed

by the Government, the Court GRANTS the ninety-day continuance as

requested in Defendant Anderson Paul’s Unopposed Motion to Continue



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Sentencing (Doc. 128). The Clerk SHALL reschedule the Sentencing hearing

for April 12, 2021 at 10:30am.

      DONE AND ORDERED in Fort Myers, Florida on January 11, 2021.




Copies: Counsel of Record




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